Case 2:24-cr-00155-JAD-DJA Document 1-1 Filed 07/16/24 Page 1 of1

PER 18 U.S.C. 3170

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: L] INFORMATION INDICTMENT

C] Other than Juvenile

CT Pre-Indictment Plea [J Superseding

CJ Indictment
Information

Matter Sealed: [] Juvenile
[_] Defendant Added
Cl Charges/Counts Added

Name of District Court, and/or Judge/Magistrate Location (City)

Las Vegas
Divisional Office

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Ellenrose Jarmolowich

Cus. Atty Cother U.S. Agency
Phone No. (702) 388-6336

S. MYHRE-ALEXANDER GOTTFRIED

Name and Office of Person
Furnishing Information on
THIS FORM

Name of Asst.
U.S. Attorney
(if assigned)

PROCEEDING

Name of Complainant Agency, or Person (& Title, if any)
Christina Burt - Kyle Jaski ~ FBI

[J person is awaiting trial in another Federal or State Court
(give name of court)

TC] this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

[] this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

Cluss. atty [7] Defense
SHOW

Cy this prosecution relates to a DOCKET NO.

pending case involving this same
defendant. (Notice of Related
Case must still be filed with the
Clerk.)

LC] prior proceedings or appearance(s)
before U.S. Magistrate Judge
regarding this defendant were
recorded under

MAG. JUDGE
CASE NO.

Place of

offense County

CASE NO. 2:24-cr- PLES EB - DIB

USA vs.

Defendant MICHREE FIORE ____ RECEIVED
ENTERED SERVED ON
COUNSEL/PARTIES OF RECORD
Address:
JUL 16 2024

ULERK US DISTRICT COURT

[ ] Interpreter Raquyired Dialect Sead DEPLITY
Birth [-] Male [] Alien
Date Female _ (if applicable)
Social Security Number

DEFENDANT

Issue:

[] Warrant

Location Status:

Summons

Arrest Date or Date Transferred to Federal Custody

L] Currently in Federal Custody

LJ Currently in State Custody
Writ Required

CJ Currently on bond

C] Fugitive

Defense Counsel (if any):

CJ] Fep []cJA [[] RETD

CJ Appointed on Target Letter

[_] This report amends AO 257 previously submitted

OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

Total # of Counts__9

Title & Section/Offense Level

Set iets 17 Windemnaitnnte & | Felony-= 3) Description of Offense Charged Count(s)
18 U.S.C. § 1349 Conspiracy to Commit Wire Fraud 1
18 U.S.C. §§ 1343, 2 Wire Fraud 2 thru 5

